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                                       ORDERED.


   Dated: May 27, 2024




                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:

THE CENTER FOR SPECIAL NEEDS                                Case No. 8-24-bk-00676-RCT
TRUST ADMINISTRATION, INC.,                                 Chapter 11

      Debtor.
_____________________________________/

         ORDER GRANTING AGREED MOTION TO EXTEND BRIEFING
    SCHEDULING DEADLINES FOR MOTION TO ENFORCE AUTOMATIC STAY

         THIS MATTER came before the Court, without a hearing, on the Agreed Motion

to Extend Briefing Schedule Deadlines for the Motion to Enforce Automatic Stay (Doc. 233)

(the “Motion”). The Court, having considered the Motion, and the agreement of the parties to

the relief requested in the Motion, finds good cause exists to grant the Motion.

         It is therefore ORDERED:

         1.     The Motion (Doc. 233) is GRANTED.

         2.     The deadline for Chamberlin Class Action Plaintiffs to file their objection to the

Stay Motion is extended to May 31, 2024.

         3.     The deadline for the Chapter 11 Trustee to file his reply to the Chamberlin Class

Action Plaintiffs' and AMB's objections to the Stay Motion is extended to June 7, 2024.


Steven R. Wirth, Esq. is directed to serve a copy of this order on interested parties who do not
receive service by CM/ECF and file a proof of service within three days of entry of this order.
